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       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
       NADER POURHASSAN'S MOTION TO DISMISS INDICTMENT



          EXHIBIT A
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SEC Form 4
              FORM 4                               UNITED STATES SECURITIES AND EXCHANGE COMMISSION                                                                                          OMB APPROVAL
                                                                                                Washington, D.C. 20549
                                                                                                                                                                                     OMB Number:                 3235-0287
                                                                                                                                                                                     Estimated average burden
    Check this box if no longer subject to                STATEMENT OF CHANGES IN BENEFICIAL OWNERSHIP                                                                               hours per response:                  0.5
    Section 16. Form 4 or Form 5
    obligations may continue. See
    Instruction 1(b).                                                Filed pursuant to Section 16(a) of the Securities Exchange Act of 1934
                                                                            or Section 30(h) of the Investment Company Act of 1940

1. Name and Address of Reporting Person*                                    2. Issuer Name and Ticker or Trading Symbol                                    5. Relationship of Reporting Person(s) to Issuer

 Pourhassan Nader                                                           CytoDyn Inc. [ CYDY ]                                                          (Check all applicable)
                                                                                                                                                               X       Director                          10% Owner
                                                                                                                                                                       Officer (give title               Other (specify
                                                                            3. Date of Earliest Transaction (Month/Day/Year)
                                                                                                                                                               X       below)                            below)
 (Last)                  (First)                  (Middle)
                                                                            04/30/2020                                                                                             President & CEO
 1111 MAIN STREET, SUITE 660

                                                                            4. If Amendment, Date of Original Filed (Month/Day/Year)                       6. Individual or Joint/Group Filing (Check Applicable
(Street)                                                                                                                                                   Line)
 VANCOUVER               WA                       98660                                                                                                        X       Form filed by One Reporting Person
                                                                                                                                                                       Form filed by More than One Reporting
                                                                                                                                                                       Person
 (City)                  (State)                  (Zip)

                                                Table I - Non-Derivative Securities Acquired, Disposed of, or Beneficially Owned
1. Title of Security (Instr. 3)                              2. Transaction        2A. Deemed            3.              4. Securities Acquired (A) or                 5. Amount of           6. Ownership       7. Nature of
                                                             Date                  Execution Date,       Transaction     Disposed Of (D) (Instr. 3, 4 and 5)           Securities             Form: Direct       Indirect
                                                             (Month/Day/Year)      if any                Code (Instr.                                                  Beneficially           (D) or Indirect    Beneficial
                                                                                   (Month/Day/Year)      8)                                                            Owned Following        (I) (Instr. 4)     Ownership
                                                                                                                                                                       Reported                                  (Instr. 4)
                                                                                                                                         (A) or                        Transaction(s)
                                                                                                         Code     V      Amount                    Price
                                                                                                                                         (D)                           (Instr. 3 and 4)

Common Stock                                                  04/30/2020                                   M              200,000            A        $0.9                    517,417               D
Common Stock                                                  04/30/2020                                   M              325,000            A       $0.87                    842,417               D

Common Stock                                                  04/30/2020                                   M              152,000            A       $0.75                    994,417               D
Common Stock                                                  04/30/2020                                   M              600,000            A       $1.09                1,594,417                 D
Common Stock                                                  04/30/2020                                   M              199,800            A       $0.57                1,794,217                 D
Common Stock                                                  04/30/2020                                   M              600,000            A        $0.8                2,394,217                 D
Common Stock                                                  04/30/2020                                   M              116,550            A       $0.49                2,510,767                 D
Common Stock                                                  04/30/2020                                   M             1,000,000           A       $0.565               3,510,767                 D

Common Stock                                                  04/30/2020                                   M              187,817            A       $0.39                3,698,584                 D
Common Stock                                                  04/30/2020                                   M             2,000,000           A       $0.63                5,698,584                 D
Common Stock                                                  04/30/2020                                   S             2,219,837           D     $3.5312(1)             3,478,747                 D
Common Stock                                                  05/01/2020                                   S             1,399,685           D     $3.2644(2)             2,079,062                 D

Common Stock                                                  05/04/2020                                   M               30,933            A       $0.39                2,109,995                 D
Common Stock                                                  05/04/2020                                   S             1,201,652           D     $2.7904     (3)
                                                                                                                                                                              908,343               D
                                                                                                                                                                                                                 By
Common Stock                                                                                                                                                                  15,570                 I
                                                                                                                                                                                                                 Spouse

                                                  Table II - Derivative Securities Acquired, Disposed of, or Beneficially Owned
                                                             (e.g., puts, calls, warrants, options, convertible securities)
1. Title of   2.            3. Transaction        3A. Deemed         4.              5. Number of        6. Date Exercisable and     7. Title and Amount of          8. Price of   9. Number of     10.              11. Nature
Derivative    Conversion    Date                  Execution Date,    Transaction     Derivative          Expiration Date             Securities Underlying           Derivative    derivative       Ownership        of Indirect
Security      or Exercise   (Month/Day/Year)      if any             Code (Instr.    Securities          (Month/Day/Year)            Derivative Security             Security      Securities       Form:            Beneficial
(Instr. 3)    Price of                            (Month/Day/Year)   8)              Acquired (A)                                    (Instr. 3 and 4)                (Instr. 5)    Beneficially     Direct (D)       Ownership
              Derivative                                                             or Disposed                                                                                   Owned            or Indirect      (Instr. 4)
              Security                                                               of (D) (Instr. 3,                                                                             Following        (I) (Instr. 4)
                                                                                     4 and 5)                                                                                      Reported
                                                                                                                                                                                   Transaction(s)
                                                                                                                                                  Amount or                        (Instr. 4)
                                                                                                         Date           Expiration                Number of
                                                                     Code      V     (A)           (D)   Exercisable    Date         Title        Shares

Employee
                                                                                                                                     Common
Stock            $0.9              04/30/2020                          M              150,000            06/30/2018     06/30/2025
                                                                                                                                      Stock
                                                                                                                                                  150,000                $0              0                 D
Option

Employee
                                                                                                                                     Common
Stock           $0.87              04/30/2020                          M              325,000            11/23/2015     11/23/2025
                                                                                                                                      Stock
                                                                                                                                                  325,000                $0              0                 D
Option

Employee
                                                                                                                                     Common
Stock           $0.75              04/30/2020                          M              152,000            01/04/2016     01/04/2026
                                                                                                                                      Stock
                                                                                                                                                  152,000                $0              0                 D
Option

Employee        $1.09              04/30/2020                          M              600,000            06/01/2019     06/01/2026   Common       600,000                $0              0                 D
Stock                                                                                                                                 Stock
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                                                  Table II - Derivative Securities Acquired, Disposed of, or Beneficially Owned
                                                             (e.g., puts, calls, warrants, options, convertible securities)
1. Title of   2.            3. Transaction       3A. Deemed              4.             5. Number of        6. Date Exercisable and     7. Title and Amount of   8. Price of   9. Number of     10.              11. Nature
Derivative    Conversion    Date                 Execution Date,         Transaction    Derivative          Expiration Date             Securities Underlying    Derivative    derivative       Ownership        of Indirect
Security      or Exercise   (Month/Day/Year)     if any                  Code (Instr.   Securities          (Month/Day/Year)            Derivative Security      Security      Securities       Form:            Beneficial
(Instr. 3)    Price of                           (Month/Day/Year)        8)             Acquired (A)                                    (Instr. 3 and 4)         (Instr. 5)    Beneficially     Direct (D)       Ownership
              Derivative                                                                or Disposed                                                                            Owned            or Indirect      (Instr. 4)
              Security                                                                  of (D) (Instr. 3,                                                                      Following        (I) (Instr. 4)
                                                                                        4 and 5)                                                                               Reported
                                                                                                                                                                               Transaction(s)
                                                                                                                                                   Amount or                   (Instr. 4)
                                                                                                            Date          Expiration               Number of
                                                                         Code     V     (A)           (D)   Exercisable   Date          Title      Shares
Option

Employee
                                                                                                                                        Common
Stock            $0.57          04/30/2020                                 M             199,800            06/01/2019    06/01/2027                199,800          $0          100,200(4)          D
                                                                                                                                         Stock
Option

Employee
                                                                                                                                        Common
Stock             $0.9          04/30/2020                                 M             50,000             06/18/2019    06/18/2029
                                                                                                                                         Stock
                                                                                                                                                    50,000           $0               0              D
Option

Employee
                                                                                                                                        Common
Stock             $0.8          04/30/2020                                 M             600,000            02/15/2018    02/15/2023
                                                                                                                                         Stock
                                                                                                                                                    600,000          $0               0              D
Option

Employee
                                                                                                                                        Common
Stock            $0.49          04/30/2020                                 M             116,550            06/08/2019    06/08/2028                116,550          $0          233,450(5)          D
                                                                                                                                         Stock
Option

Employee
                                                                                                                                        Common
Stock           $0.565          04/30/2020                                 M            1,000,000           04/08/2019    11/08/2028
                                                                                                                                         Stock
                                                                                                                                                   1,000,000         $0               0              D
Option

Employee
                                                                                                                                        Common
Stock            $0.39          04/30/2020                                 M             187,817            04/07/2019    10/07/2029                187,817          $0          187,183(6)          D
                                                                                                                                         Stock
Option

Employee
                                                                                                                                        Common
Stock            $0.63          04/30/2020                                 M            2,000,000           12/19/2019    12/19/2029
                                                                                                                                         Stock
                                                                                                                                                   2,000,000         $0               0              D
Option

Employee
                                                                                                                                        Common
Stock            $0.39          05/04/2020                                 M             30,933             10/07/2019    10/07/2029
                                                                                                                                         Stock      30,933           $0          156,250(6)          D
Option

Explanation of Responses:
1. This transaction was executed in multiple trades at prices ranging from $3.44 to $3.74. The price above reflects the weighted-average sale price. The reporting person hereby undertakes to provide upon request to
the SEC staff, the Issuer, or a security holder of the Issuer full information regarding the number of shares and prices at which the transaction was effected.
2. This transaction was executed in multiple trades at prices ranging from $3.13 to $3.54. The price above reflects the weighted-average sale price. The reporting person hereby undertakes to provide upon request to
the SEC staff, the Issuer, or a security holder of the Issuer full information regarding the number of shares and prices at which the transaction was effected.
3. This transaction was executed in multiple trades at prices ranging from $2.53 to $3.00. The price above reflects the weighted-average sale price. The reporting person hereby undertakes to provide upon request to
the SEC staff, the Issuer, or a security holder of the Issuer full information regarding the number of shares and prices at which the transaction was effected.
4. Option grant vests over a three year period beginning June 1, 2018.
5. Option grant vests over a three year period beginning June 8, 2019.
6. Option grant vests in equal monthly installments over a 12-month period beginning October 7, 2019.
                                                                                                                                      Arian Colachis, Attorney-in-fact 05/04/2020
                                                                                                                                      ** Signature of Reporting Person         Date
Reminder: Report on a separate line for each class of securities beneficially owned directly or indirectly.
* If the form is filed by more than one reporting person, see Instruction 4 (b)(v).
** Intentional misstatements or omissions of facts constitute Federal Criminal Violations See 18 U.S.C. 1001 and 15 U.S.C. 78ff(a).
Note: File three copies of this Form, one of which must be manually signed. If space is insufficient, see Instruction 6 for procedure.
Persons who respond to the collection of information contained in this form are not required to respond unless the form displays a currently valid OMB Number.
